                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT

  IN RE:
                                                       CHAPTER 13
  Regina Cheri Parks,                                  CASE NO. 18-56448-PJS
                              DEBTOR.                  JUDGE PHILLIP J. SHEFFERLY
  _______________________________________/

            TRUSTEE’S OBJECTION TO CONFIRMATION OF THE
      DEBTOR'S FIRST MODIFIED, PRE-CONFIRMATION CHAPTER 13 PLAN

        NOW COMES the Chapter 13 Standing Trustee in this matter, David Wm. Ruskin, and
objects to confirmation of the debtor's First Modified, Pre-Confirmation Chapter 13 Plan, and in
support thereof states as follows:

        1.    As of January 23, 2019, the Trustee has not been served with a true copy of the
debtor's Payment Order, nor a copy of an Electronic Transfer of Funds Payment Order, nor an
Order excusing the requirement for the same, as required by E.D. Mich. L.B.R. 1007-1(c).

       2.      Provision III.B. states that the debtor has retained Peter F. Schneider as an other
professional for post-petition services, however, the debtor’s Counsel has not included any
attorney fees owed to Counsel in Provision III.B.1.a. Further, the debtor’s Chapter 13 Plan is
inconsistent with the Statement of Attorney for Debtor Pursuant to F.R.Bankr.P. 2016(b) filed in
this matter.

       3.     The debtor has failed to provide for any treatment of the debtor’s Class 9 general
unsecured claims. As such, the debtor’s Plan fails to comply with 11 U.S.C. Section 1325.

       4.     The amount of the proposed funding in the Plan is not sufficient to pay all claims
as proposed in the Plan (the Plan is underfunded). Therefore, the debtor fails to provide for the
submission of sufficient future earnings or future income for the execution of the Plan as required
by 11 U.S.C. 1322(a)(1).

       5.     Based upon the debtor’s Schedule A/B, the debtor discloses a checking account
with Key Bank, however, the debtor includes the value of this asset as “unknown.” The Trustee
requests the debtor amend Schedule A/B to provide a value for this asset so the Trustee can
determine whether the debtor’s Plan complies with 11 U.S.C. Section 1325(a)(4).

        6.       The debtor has failed to provide proof of the contributions from Woodrow Myree
prior to the First Meeting of Creditors as required by 11 U.S.C. Section 521. The Trustee therefore
requests that the debtor produce proof of the contributions from Woodrow Myree no later than 14
days prior to the scheduled Confirmation Hearing in order for the Trustee to determine whether
the debtor's Plan complies with 11 U.S.C. Section 1325(b), 11 U.S.C. Section 1325(a)(3) and 11
U.S.C. Section 1325(a)(6).



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       7.       Based upon the debtor's Schedules I and J, the amount of disposable income
available to fund the Plan is in the amount of $3,089.80 per month, but the Plan proposes funding
only in the amount of $2,315.16 per month as required by 11 U.S.C. Section 1325(a)(3) and 11
U.S.C. Section 1325(b)(1)(B).

       WHEREFORE, the Chapter 13 Standing Trustee requests that this Honorable Court deny
confirmation of the debtor's Chapter 13 Plan.


                          OFFICE OF DAVID WM. RUSKIN,
                          STANDING CHAPTER 13 TRUSTEE

Dated: January 25, 2019   By: ___/s/ Lisa K. Mullen____
                          DAVID WM. RUSKIN (P26803)
                          LISA K. MULLEN (P55478)
                          THOMAS D. DECARLO (P65330)
                          Attorneys for Chapter 13 Trustee, David Wm. Ruskin
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  IN RE:
                                                       CHAPTER 13
  Regina Cheri Parks,                                  CASE NO. 18-56448-PJS
                              DEBTOR.                  JUDGE PHILLIP J. SHEFFERLY
  _______________________________________/

             CERTIFICATE OF SERVICE OF TRUSTEE’S OBJECTION TO
               CONFIRMATION OF THE DEBTOR'S FIRST MODIFIED,
                    PRE-CONFIRMATION CHAPTER 13 PLAN

       I hereby certify that on January 25, 2019, I electronically filed the Trustee’s Objection to
Confirmation of the debtor's First Modified, Pre-Confirmation Chapter 13 Plan with the Clerk of
the Court using the ECF system which will send notification of such filing to the following:
       The following parties were served electronically:
               CLAYSON SCHNEIDER & MILLER PC
               645 GRISWOLD SUITE 3900
               DETROIT, MI 48226-0000

       The following parties were served via First Class Mail at the addresses below by depositing
same in a United States Postal Box with the lawful amount of postage affixed thereto:

               Regina Cheri Parks
               6036 Jennifer Crescent
               West Bloomfield, MI 48324-0000

                              ________/s/ Vanessa Wild_______
                              Vanessa Wild
                              For the Office of David Wm. Ruskin
                              Chapter 13 Standing Trustee-Detroit
                              1100 Travelers Tower
                              26555 Evergreen Road
                              Southfield, MI 48076-4251
                              (248) 352-7755




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